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 1
 2
 3                            UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,              )     No. CR-11-0107-WFN-6
 6                                            )
                   Plaintiff,                 )     ORDER GRANTING MOTION AND
 7                                            )     SETTING CONDITIONS
       v.                                     )     OF RELEASE
 8                                            )
       CRUZ MENDOZA,                          )     x    Motion Granted
 9                                            )          (Ct. Rec. 412, 414)
                   Defendant.                 )
10                                            )
                                              )     G    Action Required
11                                            )

12    Date of Motion hearing: September 9, 2011.

13       IT IS ORDERED that the release of the Defendant is subject to the
      following:
14                       STANDARD CONDITIONS OF RELEASE
      (1) Defendant shall not commit any offense in violation of federal,
15    state or local law. Defendant shall advise the supervising Pretrial
      Services Officer and defense counsel within one business day of any
16    charge, arrest, or contact with law enforcement.

17    (2) Defendant shall immediately advise the court, defense counsel
      and the U.S. Attorney in writing before any change in address and
18    telephone number.

19    (3) Defendant shall appear at all proceedings as required and shall
      surrender for service of any sentence imposed as directed.
20
      (4) Defendant shall sign and complete A.O. 199C before                     being
21    released and shall reside at the addressed furnished.

22    (5) Defendant shall not possess a firearm, destructive device or
      other dangerous weapon.
23
      (6) Defendant shall report to the United States Probation Office
24    before or immediately after release and shall report as often as
      they direct, at such times and in such manner as they direct.
25
      (7) Defendant shall contact defense counsel at least once a week.
26
      (8) Defendant is further advised, pursuant to 18 U.S.C. § 922(n),
27    it is unlawful for any person who is under indictment for a crime
      punishable by imprisonment for a term exceeding one year, to
28    possess, ship or transport in interstate or foreign commerce any
      firearm or ammunition or receive any firearm or ammunition which has

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 1    been shipped or transported in interstate or foreign commerce.
 2    (9) That Cruz Mendoza cooperate with federal and state authorities
      in the collection of a DNA sample, if any is required.
 3
                                            BOND
 4    (10) Defendant shall:
 5          X Execute:
                   G $________________           corporate surety bond
 6
                     G $________________         property bond
 7
                     G $________________         cash bond
 8
                     X $15,000 percentage bond, with 10% paid in cash to
 9                   the court clerk.
10                       ADDITIONAL CONDITIONS OF RELEASE
11    Upon finding that release by one of the above methods will not by
      itself reasonably assure the appearance of the Defendant and the
12    safety of other persons and the community, IT IS FURTHER ORDERED
      that the release of the Defendant is subject to the following
13    additional conditions:
14    X   (14) Defendant shall remain in the:
15        X Eastern District of Washington or G State of Washington
16    while the case is pending. On a showing of necessity, Defendant may
      obtain prior written permission to leave this area from the United
17    States Probation Office.
18    X (15) Avoid all contact, direct or indirect, with any persons who
      are or who may become a victim or potential witness, in the subject
19    investigation or prosecution.
20    X   (16) Avoid all contact, direct or indirect, with:
           X Known felons
21         X Co-Defendant(s)
22    X   (18) Refrain from:     X any      G excessive use of alcohol
23    X (19) There shall be no alcohol in the home where Defendant
      resides.
24
      X (20) There shall be no firearms in the home where Defendant
25    resides.
26    X (21) Refrain from use or unlawful possession of a narcotic drug
      or other controlled substances defined in 21 U.S.C. § 802, unless
27    prescribed by a licensed medical practitioner.
28                 SUBSTANCE ABUSE EVALUATION AND TREATMENT
      If Defendant is required to submit to a substance abuse evaluation,

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 1    inpatient or outpatient treatment, the following shall apply:
 2    Defendant shall complete treatment indicated by an evaluation or
      recommended by Pretrial Services and shall comply with all rules of
 3    a treatment program. Defendant shall be responsible for the cost of
      testing, evaluation and treatment, unless the United States
 4    Probation Office should determine otherwise.     The United States
      Probation Office shall also determine the time and place of testing
 5    and evaluation and the scope of treatment. If Defendant fails in
      any way to comply or cooperate with the requirements and rules of a
 6    treatment program, Pretrial Services shall notify the court and the
      U.S. Marshal, who will be directed to immediately arrest the
 7    Defendant.
 8    Defendant shall participate           in   one   or     more   of   the   following
      treatment programs:
 9
      X (24) Substance Abuse Evaluation: Defendant shall undergo a
10    substance abuse evaluation:
         X if directed by a U.S. Probation Officer.
11       G as directed by a U.S. Probation Officer.
         G Prior to release, Defendant must have an appointment for a
12          substance abuse evaluation, and the appointment must be
            confirmed to the court by Pretrial Services. Defendant will
13          be released:
            G one day prior to, or G on the morning of his appointment.
14
      G (25) Inpatient Treatment: Defendant shall participate in an
15    intensive inpatient treatment program.
         G Prior to release, an available bed and date of entry must be
16          confirmed by Pretrial Services.
         G Defendant will be released to an agent of the inpatient
17          program on ____________________.
         G Prior to release from inpatient treatment, an outpatient
18          treatment program must be presented to the court.         If
            Defendant does not have a structured outpatient treatment
19          program in place prior to conclusion of inpatient treatment,
            Defendant automatically will go back into the custody of the
20          U.S. Marshal.
         G Following inpatient treatment, Defendant shall participate in
21          an aftercare program.
22    X (26) Outpatient Treatment: Defendant shall participate in
      intensive outpatient treatment.
23       G Prior to release, an appointment for Defendant’s first
            counseling session must be made and confirmed by Pretrial
24          Services. Defendant will be released:
            G one day prior to, or   G on the morning of his appointment
25
      X (28) Prohibited Substance Testing: If random urinalysis testing
26    is not done through a treatment program, random urinalysis testing
      shall be conducted through Pretrial Services, and shall not exceed
27    six (6) times per month. Defendant shall submit to any method of
      testing required by the Pretrial Service Office for determining
28    whether the Defendant is using a prohibited substance. Such methods
      may be used with random frequency and include urine testing, the

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 1    wearing of a sweat patch, a remote alcohol testing system, and/or
      any form of prohibited substance screening or testing. Defendant
 2    shall refrain from obstructing or attempting to obstruct or tamper,
      in any fashion, with the efficiency and accuracy of prohibited
 3    substance testing. Full mutual releases shall be executed to permit
      communication between the court, Pretrial Services, and the
 4    treatment vendor. Treatment shall not interfere with Defendant’s
      court appearances.
 5
                   HOME CONFINEMENT/ELECTRONIC/GPS MONITORING
 6
      X (29) Defendant shall participate in one or more of the following
 7    home confinement program(s):
 8       X Electronic Monitoring. The Defendant shall participate in a
         program of electronically monitored home confinement, this system
 9       shall be in place no later than Monday, September 12, 2011. The
         Defendant shall wear, at all times, an electronic monitoring
10       device under the supervision of U.S. Probation. In the event the
         Defendant does not respond to electronic monitoring or cannot be
11       found, the U.S. Probation Office shall forthwith notify the
         United States Marshals’ Service, who shall immediately find,
12       arrest and detain the Defendant. The Defendant shall pay all or
         part of the cost of the program based upon ability to pay as
13       determined by the U.S. Probation Office.
14       G GPS Monitoring. The Defendant shall participate in a program
         of GPS confinement. The Defendant shall wear, at all times, a
15       GPS device under the supervision of U.S. Probation. In the event
         the Defendant does not respond to GPS monitoring or cannot be
16       found, the U.S. Probation Office shall forthwith notify the
         United States Marshals’ Service, who shall immediately find,
17       arrest and detain the Defendant. The Defendant shall pay all or
         part of the cost of the program based up ability to pay as
18       determined by the U.S. Probation Office.
19       X Curfew. Defendant shall be restricted to his/her residence:
           X every day from 8:00 p.m. to 6:00 a.m.
20         X as directed by the Pretrial Services Office
21       X Home detention. Defendant    al    restricted to the residence
         at                                     Washington, at all time
22       except for:
            attorney visits; court appearances; case-related matters;
23          court-ordered obligations; or other activities as pre-
            approved by the Pretrial Services Office or supervising
24          officer, as well as:
                X employment     X education   X religious services
25              X medical, substance abuse, or mental health treatment
26
         DATED September 9, 2011.
27
                                  s/James P. Hutton
28                                JAMES P. HUTTON
                          UNITED STATES MAGISTRATE JUDGE

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